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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

Staci Russell,

       Plaintiff,
                                         Case No. 20-10221
v.                                       Honorable Victoria A. Roberts

Three Pillars D/B/A Cornerstone
Education Group, a Michigan non-profit
corporation,

     Defendant.
_________________________________/

     ORDER STRIKING PLAINTIFF’S MOTION FOR PARTIAL SUMMARY
                      JUDGMENT [ECF No. 22]

       The Court reviewed Plaintiff’s Motion for Partial Summary Judgment.

[ECF No. 22]. The Court STRIKES that document for the following

reason(s):

       ☒ Missing statement of concurrence. See Local Rule (“LR”) 7.1(a).

       ☒ Missing required information (controlling or most appropriate

authority and index of exhibits). See LR 7.1(d)(2).

       ☒ Does not contain a statement of material facts with numbered

paragraphs or fails to respond to statement of material facts in motion. See

Section 1(A) of Phase II Scheduling Order (Statement of Material Facts on

Motion for Summary Judgment).
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      ☐ Wrong font size or improperly formatted (e.g., single-spaced,

improper margins, missing page numbers, etc.). See LR 5.1(a)(2),(3).

      ☐ Does not comply with Rule 18(b) of the Electronic Filing Policies

and Procedures, regarding filing exhibits electronically. See LR 5.1.1(a).

      ☐ Does not comply with Local Rule 5.3, regarding filing an item

under seal in a civil case.

      ☐ Over-length. See LR 7.1(d)(3).

      ☐ Motion to dismiss/response to motion to dismiss relies primarily

on summary judgment cases.

      ☐ Does not comply with the Scheduling Order (or other Order or

Notice) in this case for the following reasons: _______________________

___________________________________________________________.

      ☐ Other: ______________________________________________.

      The document is stricken and not part of the record. No motions are

allowed to be filed until the Court holds a status conference.

      IT IS ORDERED.
                                          S/ Victoria A. Roberts
                                          Victoria A. Roberts
Dated: 1/11/21                            United States District Judge




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